                         Case 1:21-cr-00378-TJK Document 76 Filed 12/22/21 Page 1 of 29



AD 442 (Rev. 01109) Arrest Warrant


                                            UNITED STATES DISTRICT COURT
                                                                                                     for the

                                                                                     District of Columbia


                   United States of America
                                   v.                                                                    )             Case: 1:21-cr-00378
                         KEVIN A. TUCK                                                                   )             Assigned To : Judge Timothy J. Kelly
                                                                                                         )             Assign ..Date: 7nl2021
                                                                                                         )             Description: SUPERSEDING INDICTMENT (B)
                                                                                                         )
                                                                                                                       Related Case: 21-cr-378(T JK)
                               Defendant


                                                                          ARREST WARRANT

To:         Any authorized law enforcement officer


            YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)         KEVIN A. TUCK
                                             ----------------------
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment           ~    Superseding Indictment                                   0 Information                     0 Superseding Information               0 Complaint
o     Probation Violation Petition               0 Supervised Release Violation Petition                                               0 Violation Notice          0 Order of the Court

This offense is briefly described as follows:
 18 U.S.C. §§ 1512(c)(2), 2 (Obstruction of an Official Proceeding, Aiding and Abetting); 18 U.S.C. § 1752(a)(1) (Entering
 and Remaining in a Restricted Building or Grounds);18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a
 Restricted Building or Grounds); 40 U.S.C. § 5104(e)(2)(B) (Entering and Remaining in the Gallery of Congress); 40
   U.S.C.    § 5104(e)(2)(D)      (Disorderly
    Picketing in a Capitol Building)         (i)Conduct in a Capitol Building); 40 U.S.C.

                                                , •    •
                                                                   ECFDOCUMENT
                                                               Iheoeby.n'''"d"mfyth.tth..                          ~
                                                                                                                                  § 5104(e)(2)(G)    (Parading,      Demonstrating,
                                                                                                                                                       G M"Iehae I Harvey
                                                                                                                                                          •
                                                                                                                                                                                         or




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 Date:      07/07/2021
                                                                                                                                         Issuing officer's signature
                                          Laurence Pierre-                    O;gital1y signed
                                                                              Pierr~·Louis
                                                                                                 by Laurence


                                           Louis                              Date: 2021.07.0812:59:55       -(WOO'

                                                                                                                            G. Michael Harve        , U.S. Magistrate        Jud e
 City and state:         Washingt;_::o.:..:n_:D:..c.
                                          ...=.C.:._.                                    _
                                                                                                                                           Printed name and litlf!



                                                                                                     Return

             This warrant w~s received on (date)                     _:1     \"1.\'2..\ __                         ' and the person was arrested on       (date)       -,    \   512.\
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 at (city and slate)       W,,\         d e ,,""'ere       \   fh~('
                                                                  i Ac-< .


 Date:                                                                                                                       f2~             iJV_·         -
                                                                                                                                        Arresting officer's signature
                                                                                                                                                                       ---

                                                                                                                                           Printed nameland title
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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

 UNITED STATES OF AMERICA

                               VS.                                               CASE NO. 6:21-mj-1566-EJK

 KEVIN A. TUCK and
 NATHANIEL A. TUCK


                                                                                    AUSA: Jennifer Harrington

                                                           Defense Attorney: Joseph Torres, CJA Panel Attorney
                                                                            Roger Weeden, CJA Panel Attorney

JUDGE:                EMBRY J. KIDD                    DATE AND TIME:                            July 15, 2021
                      United States Magistrate Judge                                              3:21-3:59PM
                                                                                                   38 minutes
Courtroom:            4C                               TOTAL TIME:


DEPUTY CLERK:         N. Rodriguez                     REPORTER:                                        Digital
                                                                         Orlando_Digital_Transcripts@flmd.usc
                                                                                                     ourts.gov
INTERPRETER:          None                             PRETRIAL/PROB:                            Ivette Suarez


                                              CLERK’S MINUTES
                                        INITIAL APPEARANCE (RULE 5)

 (Rule 5c – District of Columbia)
 Case called, appearances made, procedural setting by the Court.
 No issue as to competency.
 Court advises the defendants of the counts in the Indictment.
 Government advises of the potential penalties.
 Defendants both request court appointed counsel; Court appoints CJA Panel attorneys Joseph Torres for Kevin
 Tuck and Roger Weeden for Nathaniel Tuck for proceedings in the MDFL.
 Defendants waive Rule 5 & 5.1 hearings.
 Government makes motion for both defendants’ release with conditions.
 Court grants motion and orders conditions of release be set.
 Defendants are released with conditions as set forth in the Order Setting Conditions of Release.
 Defendants shall appear at hearings set by the District Court of Columbia as instructed.
 Court adjourned.




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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                                 CASE NO: 6:21-mj-1566-EJK

KEVIN A. TUCK


                 FINDINGS AND ORDER ON REMOVAL PROCEEDINGS
                      PURSUANT TO RULE 5(C), FED.R.CRIM.P.
        Kevin A. Tuck, having been arrested and presented before me for removal proceedings pursuant to

Rule 5(c), Federal Rules of Criminal Procedure, and having been informed of the rights specified in Rule

5(d) thereof, and of the provisions of Rule 20, the following has occurred of record.

        An Initial Appearance on the Rule 5(c) Superseding Indictment from District of
        Columbia was held on July 15, 2021.

        After hearing the evidence, and based on the defendant's waiver of identity hearing, I
        find that KEVIN A. TUCK is the person named in the warrant for arrest, a copy of
        which has been produced.

        It is, therefore,

        ORDERED that KEVIN A. TUCK be held to answer in the district court in which the prosecution

is pending. Defendant was ordered released on conditions.

        DONE and ORDERED in Chambers in Orlando, Florida on July 15, 2021.




Copies furnished to:
United States Attorney
Counsel of Record
      Case 1:21-cr-00378-TJK Document 76 Filed 12/22/21 Page 23 of 29



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                                 CASE NO: 6:21-mj-1566-EJK

NATHANIEL A. TUCK


                 FINDINGS AND ORDER ON REMOVAL PROCEEDINGS
                      PURSUANT TO RULE 5(C), FED.R.CRIM.P.
        Nathaniel A. Tuck, having been arrested and presented before me for removal proceedings pursuant

to Rule 5(c), Federal Rules of Criminal Procedure, and having been informed of the rights specified in Rule

5(d) thereof, and of the provisions of Rule 20, the following has occurred of record.

        An Initial Appearance on the Rule 5(c) Superseding Indictment from District of
        Columbia was held on July 15, 2021.

        After hearing the evidence, and based on the defendant's waiver of identity hearing, I
        find that NATHANIEL A. TUCK is the person named in the warrant for arrest, a copy
        of which has been produced.


        It is, therefore,

        ORDERED that NATHANIEL A. TUCK be held to answer in the district court in which the

prosecution is pending. Defendant was ordered released on conditions.

        DONE and ORDERED in Chambers in Orlando, Florida on July 15, 2021.




Copies furnished to:
United States Attorney
Counsel of Record
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                                                                                                       of Florida


                                     Query       Reports             Utilities   Help    What's New    Log Out


                                                                                                                            BOND

                                   U.S. District Court
                           Middle District of Florida (Orlando)
               CRIMINAL DOCKET FOR CASE #: 6:21-mj-01566-EJK All Defendants


 Case title: USA v. Tuck et al                                                          Date Filed: 07/15/2021
 Other court case number: 21-cr-378 District of Columbia                                Date Terminated: 07/16/2021


 Assigned to: Magistrate Judge Embry J.
 Kidd

 Defendant (1)
 Kevin A. Tuck                                                          represented by Joseph Torres
 TERMINATED: 07/16/2021                                                                Law Office of Joseph Torres, Esq.
                                                                                       2270 Alafaya Trail
                                                                                       Oviedo, FL 32765-8829
                                                                                       407/359-3477
                                                                                       Fax: 407/359-6788
                                                                                       Email: joseph.torres.esq@gmail.com
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: CJA Appointment

 Pending Counts                                                                         Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                      Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                             Disposition
 18:1512.F TAMPERING OR
 DESTRUCTION OF RECORDS AND
 DOCUMENTS

 Assigned to: Magistrate Judge Embry J.
 Kidd

https://flmd-ecf.sso.dcn/cgi-bin/DktRpt.pl?621050179489468-L_1_0-1                                                            1/4
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                                                                                                       of Florida


                                     Query       Reports             Utilities   Help    What's New   Log Out
 Defendant (2)
 Nathaniel A. Tuck                                                      represented by Roger L. Weeden
 TERMINATED: 07/16/2021                                                                Law Office of Roger L. Weeden
                                                                                       605 E. Ridgewood Street, Suite 250
                                                                                       Orlando, FL 32803
                                                                                       407/894-9004
                                                                                       Fax: 407/649-1657
                                                                                       Email: rlweeden@aol.com
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: CJA Appointment

 Pending Counts                                                                         Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                      Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                             Disposition
 18:1512.F TAMPERING OR
 DESTRUCTION OF RECORDS AND
 DOCUMENTS



 Plaintiff
 USA                                                                    represented by Jennifer Michele Harrington
                                                                                       United States Attorney's Office
                                                                                       400 W. Washington Street, Suite 3100
                                                                                       Orlando, FL 32801
                                                                                       407-648-7651
                                                                                       Fax: 407-648-7643
                                                                                       Email: Jennifer.harrington2@usdoj.gov
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Retained

  Date Filed            #     Docket Text
  07/15/2021             1 Arrest pursuant to Rule 5(c)(2) of Kevin A. Tuck, Nathaniel A. Tuck from the District of
                           Columbia. (Attachments: # 1 N. Tuck Indictment, # 2 K. Tuck Warrant, # 3 N. Tuck
                           Warrant)(RN) (Entered: 07/15/2021)
  07/15/2021             2 Minute Entry for In Person proceedings held before Magistrate Judge Embry J. Kidd:
                           INITIAL APPEARANCE in Rule 5(c)(3) proceedings held on 7/15/2021 as to Kevin A.
https://flmd-ecf.sso.dcn/cgi-bin/DktRpt.pl?621050179489468-L_1_0-1                                                             2/4
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                          Tuck, Nathaniel A. Tuck from the District of Columbia. Court Appoints CJA counsel
                          JosephQuery    Reports
                                 Torres for              Utilities
                                            Kevin A. Tuck,Roger           Help What's New Log Out
                                                                         L.  Weeden for Nathaniel A. Tuck. (Digital) (RN)
                          (Entered: 07/15/2021)
  07/15/2021             3 ***CJA 23 Financial Affidavit by Kevin A. Tuck. (RN) (Entered: 07/16/2021)
  07/15/2021             4 ***CJA 23 Financial Affidavit by Nathaniel A. Tuck. (RN) Modified on 7/16/2021 (RN).
                           (Entered: 07/16/2021)
  07/15/2021             5 ORDER of Appointment of CJA Counsel as to Kevin A. Tuck: Appointment of
                           Attorney Joseph Torres. Signed by Magistrate Judge Embry J. Kidd on 7/15/2021.
                           ctp(RN) Modified on 7/16/2021 (RN). (Entered: 07/16/2021)
  07/15/2021             6 ORDER of Appointment of CJA Counsel as to Nathaniel A. Tuck: Appointment of
                           Attorney Roger Weeden. Signed by Magistrate Judge Embry J. Kidd on 7/15/2021.
                           (RN) (Entered: 07/16/2021)
  07/15/2021             7 WAIVER of Rule 5 & 5.1 Hearings hearing by Kevin A. Tuck. (RN) (Entered:
                           07/16/2021)
  07/15/2021             8 WAIVER of Rule 5 & 5.1 Hearings hearing by Nathaniel A. Tuck. (RN) (Entered:
                           07/16/2021)
  07/15/2021             9 Oral MOTION for Release from Custody by USA as to Kevin A. Tuck, Nathaniel A.
                           Tuck. (RN) (Entered: 07/16/2021)
  07/15/2021           10 ORDER Setting Conditions of Release, granting 9 Oral Motion for Release from
                          Custody as to Kevin A. Tuck (1). Signed by Magistrate Judge Embry J. Kidd on
                          7/16/2021.ctp (RN) (Entered: 07/16/2021)
  07/15/2021           11 ORDER Setting Conditions of Release, granting 9 Oral Motion for Release from
                          Custody as to Nathaniel A. Tuck (2). Signed by Magistrate Judge Embry J. Kidd on
                          7/15/2021. (RN) (Entered: 07/16/2021)
  07/15/2021           12 Unsecured Appearance BOND entered as to Kevin A. Tuck in amount of $ 25,000. (RN)
                          Modified on 7/16/2021 (RN). (Entered: 07/16/2021)
  07/15/2021           13 Unsecured Appearance BOND entered as to Nathaniel A. Tuck in amount of $ 25,000.
                          (RN) (Entered: 07/16/2021)
  07/16/2021           14 ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of Columbia as to
                          Kevin A. Tuck. Signed by Magistrate Judge Embry J. Kidd on 7/15/2021. ctp(RN)
                          (Entered: 07/16/2021)
  07/16/2021           15 ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of Columbia as to
                          Nathaniel A. Tuck. Signed by Magistrate Judge Embry J. Kidd on 7/15/2021. ctp(RN)
                          (Entered: 07/16/2021)
  07/16/2021                  NOTICE to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to Kevin A.
                              Tuck, Nathaniel A. Tuck regarding your case number: 1:21-cr-378. Using your PACER
                              account, you may retrieve the docket sheet and any documents via the case number link.
                              No documents/record will be sent. If you require certified copies of any documents please
                              send a request to InterdistrictTransfer_FLMD@flmd.uscourts.gov. If you wish the court to
                              use a different email address in the future, please send a request to update your address to
                              InterdistrictTransfer_TXND@txnd.uscourts.gov. (RN) (Entered: 07/16/2021)
  07/16/2021           16 Receipt for Surrender of Passport as to Kevin A. Tuck Passport Number 594627010 issued
                          by USA (TNP) (Entered: 07/16/2021)
  07/16/2021           17 Receipt for Surrender of Passport as to Nathaniel A. Tuck Passport Number 567018927
https://flmd-ecf.sso.dcn/cgi-bin/DktRpt.pl?621050179489468-L_1_0-1                                                           3/4
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                          issued by USA (TNP) (Entered: 07/16/2021)
                                     Query       Reports             Utilities   Help   What's New   Log Out
  07/16/2021           18 TRANSFER of passport number 594627010 to District of Columbia District Court via
                          USPS Certified Mail (tracking # 7014 2870 0000 3068 2433) as to Kevin A. Tuck.
                          Country: USA. (TNP) (Entered: 07/16/2021)
  07/16/2021           19 TRANSFER of passport number 567018927 to District of Columbia District Court via
                          USPS Certified Mail (tracking #7014 2870 0000 3068 2433) as to Nathaniel A. Tuck.
                          Country: USA. (TNP) (Entered: 07/16/2021)




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